Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 1 of 24 PageID #:547
                                                                                 EXHIBIT Y




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Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 2 of 24 PageID #:548




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       Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 3 of 24 PageID #:549

                                THE SHILLER PREY AR LAW OFFICES
                                            601 S. California
                                         Chicago, Illinois 60612
                                   (P) 312-226-4590 (F) 773-346-1221




LEGAL REPRESENTATION & RETAINER AGREEMENT


       PLEASE READ THIS ENTIRE AGREEMENT CAREFULLY PRIOR TO SIGNING

Dear Representative of 1600 Elston Properties,

        Thank you for allowing our firm the opportunity to address your legal needs. This letter will
confirm our conversation regarding this firm's representation of you in connection with all legal aspects
pertaining to your need for a special use permit

        As previously discussed, your full cooperation is required to assist you with your case. As such,
we respectfully request that you timely keep us informed of all matters affecting this case, and respond to
our request for information or documents without delay. We also would like to ask you not to discuss this
matter or sign or disclose any document pertaining to this matter without first consulting with us. In the
event you are contacted by anyone regarding this matter, please tell the person only that you may not
discuss this matter and direct him or her to contact our firm.

        Additionally, do not allow the aggressive manner in which we handle your case give you a false
sense of security. There are a number of aspects that are beyond the control of this firm, such as lack of
recollection, lost evidence, witness testimony, and the rulings of judges that might adversely affect your
case. While we cannot speculate on such factors or guarantee success, we will make every effort to
optimize your outcome and meet your goals, under the following terms and conditions:

(1)     You agreed to employ this law firm to serve as your attorneys and to advise you regarding the
above-referenced matter. Please note, any legal issues, such as additional counter claims, third party
claims, administrative or criminal hearing might result in additional costs and fees.

(2)     You have been advised that we will use our best efforts on your behalf, will complete work on this
matter as quickly as possible, and will represent your interests to the best of our ability. However, please
be advised that in the event that you are unsatisfied with our services, you may fire the Shiller Preyar Law
Offices at any time. In addition, should any disagreement arise, the Shiller Preyar Law Offices reserves
the right to withdraw from the case with 10 days notice.

(3)     We have made no warranties or guaranties as to the successful outcome of this matter and any
expressions made by us relative to the nature of this matter are matters of our opinion only. This
agreement shall not include any matters pertaining to any and all judgment enforcement issues or other
third-party matters. All attorneys' fees, court costs, and other expenses will be due and payable regardless
ofthe final outcome of your case.

(4)     You have given us power and authority to execute all documents connected with this matter
including pleadings, contracts, settlement agreements, verifications, and other documents necessary to
pursue this matter, subject to your approval.

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      Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 4 of 24 PageID #:550


(5)     You have agreed that the fees charged for the firm's services shall be on an hourly basis, based on
six minute increments. The legal fees charged for services including office conferences, correspondence,
telephone conversations, research, document preparation, progress notes, and other necessary services
shall be charged at the respective attorney's hourly rates in effect at the time the services are rendered.
SHILLER PREYAR HAS AGREED TO REDUCE ITS NORMAL ATTORNEY HOURLY RATES
BY 50%. The current hourly rate schedule are as follows:

Firm Partners:                          Five Hundred Dollars                    ($500.00)
Firm Associates:                        Three Hundred Fifty Dollars             ($300.00)
Paralegal Services:                     One Hundred Twenty Five Dollars         ($125.00)
Clerical Services:                      Seventy Five Dollars                    ($75.00)

        In addition you have agreed that any expenses incurred by the firm directly attributable to the
firm's representation of you, including but not limited to, court costs, all filing fees, service fees, witness
fees, court reporter fees, in-house costs and travel expenses, photocopying, messenger and air express
charges, long distance telephone charges, use of the fax equipment, and other expenses incurred on your
behalf will be charged to you in addition to the fees for services.
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(6)      You have agreed to pay Five Thousand Dollars ($5000.00) upon retaining the Shiller Preyar
Law Offices. You have further agreed to maintain a credit balance of two thousand dollars ($2,000.00)
which will be applied toward our fees and costs incurred throughout the course of litigation in your
matter. In the event that you fail to maintain the requisite credit balance referred to herein, the firm
reserves the right to withdraw from the representation of you in this matter, reserving all remedies
                                                                                                                  I
available to the firm. If there is no litigation being simply presenting your case to the ZBA, then the total
flat fee will be $5,000. This is not a contingent fee, and this does not include any costs or experts.

(7)     You further agree that we may employ an associate or outside counsel to represent you at our
discretion, and that any attorney so employed may be designated to undertake your representation at
which time he or she will be covered under this agreement. You understand that we may also need to
employ experts, which will be at your expense.

(8)     This agreement constitutes the entire agreement and understanding between the firm and you
regarding this matter.

(9)     This fee agreement has been based on our discussions relating to your case and your
representations regarding the facts of this matter. If circumstances ultimately differ from those we have
contemplated, an adjustment may have to be made in the fee arrangements. Furthermore, in the event we
feel that any representation you made to us is disingenuous, incomplete, or should we discover facts that
adversely affect the validity of your claim, or should you refuse a reasonable settlement agreement, we
reserve the right to withdraw from your case, at which time all fees and costs expended on your behalf to
the date of withdrawal shall be due.

(1 0) If you have asked this office to intervene on your behalf in this lawsuit, and substitute for your
previous attorney or your pro se representation, you have been advised that we have agreed to undertake
to represent you, but the fact that the case has progressed to this level may affect choices in the manner in
which this case could be litigated. We have undertaken to represent you under these conditions based on
your understanding that this office cannot be held responsible for the outcome of this litigation and your
understanding that this office will use its best efforts on your behalf. No other assurances regarding the
outcome can be made.

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         Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 5 of 24 PageID #:551



(11) You also agree that it is your contractual obligation to keep us advised of your current address,
and that failure to do so as evidenced by an unclaimed certified letter at your given address may be
deemed a breach of this contract and a certified letter to this address shall be considered by any court
of competent jurisdiction as sufficient notice for any purpose, including a notice of motion to
withdraw as your attorney. If a court of competent jurisdiction rules that any one or more of this
agreement's provisions are invalid, illegal or unenforceable in any respect, such invalidity, illegality or
unenforceability shall not affect any of this agreement's other provisions, and this agreement shall be
construed as if it had never contained such invalid, illegal or unenforceable provision.

        If the aforesaid conditions meet with your approval, please sign the enclosed copy of this letter
and return it to us with the retainer. As soon as we have received the signed copy of this letter and the
retainer, we will immediately begin work on your. behalf in this matter. Should you have any
additional questions about what we talked about or the information in this letter, please do not hesitate
to ask. We will maintain your file in our office for review, and unless otherwise requested by you in
 writing, we will dispose of the file after the statutory period.
         We thank you for the opportunity to assist you with your legal needs, and we look forward to
 working with you to address this matter.

  .Sincerely,
  .Brend,ani.Sbiller
 ''



                               oa~~~!e·ipt   of a. copy of thi$ Contract and hereby agrees to the terms stated:

                                                                   {J_f<~ ({;/Hl£-1 l
                                                             Client (print name)




                                             Soc. Sec No.:
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Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 6 of 24 PageID #:552




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Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 7 of 24 PageID #:553




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Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 8 of 24 PageID #:554




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Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 9 of 24 PageID #:555




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Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 10 of 24 PageID #:556




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Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 11 of 24 PageID #:557




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Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 12 of 24 PageID #:558




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Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 13 of 24 PageID #:559




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Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 14 of 24 PageID #:560




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Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 15 of 24 PageID #:561




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Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 16 of 24 PageID #:562




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Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 17 of 24 PageID #:563




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Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 18 of 24 PageID #:564




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Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 19 of 24 PageID #:565




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Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 20 of 24 PageID #:566




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 Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 21 of 24 PageID #:567




    The Shiller Preyar law offices
                                1100 West Cermak, Suite B401
                                     Chicago, IL 60608
                                    Phone: 312.226.4590
                                     Fax: 773.346.1221


                                     Retainer Agreement

   1. Shiller Preyar agrees to represent Nicholas Smith in his defense of the objection to the
       his candidacy for Cook County Commissioner (7th Dist). It is understood that the
       political committee that is supporting Smith will sign this agreement on his behalf.
   2. “Client” will refer to the political committee going forward and not the actual objectors.
   3. Client, understands that SHILLER PREYAR charges an hourly rate of $600 for election
       law work done by the partners, and $350 for work done by associates Mary Grieb and
       Chris Bergin and $250 done by all other associates.
   4. Client understands that this work will be billed in one-tenth hour increments.
   5. Client understands that because of the nature of election law work, any records
       examination will require at least one attorney to be present during this time. Shiller
       Preyar has assured client that this time spent during a records exam by a lawyer will be
       billed out at $250 an hour however.
   6. Client understands that Shiller Preyar will contract out with the other records exam
       objectors at a reasonable rate of somewhere between 10 to 15 an hour and that those
       individual or individuals will bill the campaign separately.
   7. Client will be billed immediately upon completion of the objection, and payment will be
       expected immediately. This agreement does not cover any appeal to the Circuit Court or
       any other higher court.
   8. Client understands that all costs will be billed separately, and that this includes, but is
       not limited to: copying of papers, transportation, parking, lunches for the objectors
       during the records exam, any other personnel costs for the records exam or
       investigations.
   9. Client agrees to cooperate fully in the litigation and/or settlement of the case.
   10. Client acknowledges that no promises have been made as to the likelihood of success in
       the challenge to Smith’s candidacy.
   11. If any disagreement arises, the attorney may withdraw from the case with 10 days
       notice.
   12. The Client may fire the attorney at any time.
   13. Shiller Preyar agrees to keep Client timely notified of all events relating to the
       challenge.



Brendan Shiller              12/3/2013                      Nick Smith                12/3/2013
Attorney                      Date                          Client                        Date




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Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 22 of 24 PageID #:568




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Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 23 of 24 PageID #:569




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Case: 1:15-cv-01840 Document #: 76-1 Filed: 10/13/16 Page 24 of 24 PageID #:570




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